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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
FARIBA AMIRI                         )
                                     )
            Plaintiff,               )
v.                                   )
                                     )   Case No.: 18-586 RMC
OMNI EXCAVATORS, INC., et al.        )
                                     )
            Defendants.              )
____________________________________)

           OPPOSTION TO MOTION FOR ENTRY OF DEFAULT JUDGMENT

       COMES NOW, Defendants Omni Excavators, Inc., Abotorab Rafi, and Manuel Dias

(collectively “Defendants”), by and through their counsel, Robbins Law Group, PLLC, and

pursuant to Fed. R. Civ. P. 27(a)(3), hereby file this Opposition to the Motion for Entry of

Default Judgment (the “Motion”) filed by Plaintiff Fariba Amiri (“Ms. Amiri”), and state as

follows:

I.     INTRODUCTION

       Defendants oppose the Motion for Entry of Default Judgment and respectfully request the

Court accept the responsive pleading filed by Defendants [DKT 5] to the Complaint. The Court

has the discretion to allow a party to late-file a responsive pleading when to do so would not

prejudice the moving parties and would serve the ends of justice.

       In the case at bar, contrary to Plaintiff’s statements, neither defendants Abotorab Rafi or

Manuel Dias were property served with a copy of the Summons and Complaint in the manner

prescribed by Fed. R. Civ. P. 5. Therefore, service of process was defective and the Plaintiff’s

Motion should be denied.




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       As to Defendant Omni Excavators, Inc., while the Defendants do not dispute the manner

of service of process, the Plaintiff’s statement in support of the Motion are not factually correct

and misleading. The Plaintiff’s statement that Plaintiff’s counsel “approved a draft Consent

Motion” is patently false. Motion at ¶5. As discussed infra, Plaintiff’s counsel later recanted

such statement. However, to date, the undersigned counsel is not aware of any filing submitted

by Plaintiff’s correcting the record and his false statement.

II.    ARGUMENT

       As a principle, under Federal law, it is well settled that Court’s look upon default

judgments with disfavor. Scharner v. Copeland, (M.D. Pa, 587 F2d 1395) 1973. Specific to this

jurisdiction, the Gant Court explained;

                “Because courts strongly favor resolution of disputes on the merits, and
                because it seems inherently unfair to use court’s power to enter judgment as
                a penalty for filing delays, default judgments are not favored by modern
                courts; accordingly, default judgment usually is available only when
                adversary process has been halted because of essentially unresponsive
                party, as diligent party must be protected lest he be faced with interminable
                delay and continued uncertainty as to his rights.

United States v. Gant, 268 F. Supp 2d 29 (D.D.C. 2003).

       Fed. R. Civ. P. 12 requires that a defendant file a responsive pleading within twenty-one

(21) days of service. However, Fed. R. Civ. P. 6(b) provides the time allowed for filing

pleadings may be extended by the Court in its discretion. See, Yesudian ex rel., United States v.

Howard University, 270 F.3d 969, 971 (D.C. Cir. 2001) (finding that a deadline extension was

granted without formal finding of excusable neglect when the court found no prejudice to the

other party).   Although not explicitly required, courts generally look to whether the defendants

acted in good faith while failing to timely file responsive pleadings, as well as whether the delay

has caused prejudice to the plaintiff. Id.



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        The Defendants have retained counsel and are prepared to defend the lawsuit. Plaintiff’s

request should be denied as there is a strong judicial policy in this jurisdiction which favors

deciding cases on their merits rather than by default judgment. Walker v. Smith, 499 A.2d 446,

448-49 (D.C. 1985); Westmoreland v. Weaver Brothers, Inc. 295 A.2d 506, 508 (D.C. 1972);

Barr v. Rhea Radin Real Estate, Inc. 251 A.2d 634, 635-636 (D.C. 1969).

III.    FACTS

        A.       Defendants Abotorab Rafi, and Manuel Dias were not properly served.

        Fed. R. Civ. P. 6(b) provides the mechanisms whereby Service is achieved. In part,

Service is achieved by handling the papers to the person [defendant], leaving it at the person’s

office, or delivering it by any means that the person consented to in writing. Fed. R. Civ. P.

6(b)(2)(A), B(ii), (F). The method of Service Plaintiff used does not quality as service of process

on Mr. Abotorab Rafi and Mr. Manuel Dias.

        In the instant matter, Plaintiff attested the individual defendants – Mr. Abotorab Rafi and

Mr. Manuel Dias – were served via “Ms. Hannah Franklin who is the designated by law to

accept service of process on behalf of Omni Excavators, Inc.” [Emp. Added]. Ms. Hannah is

NOT authorized or designated to accept service on behalf of Mr. Abotorab Rafi and Mr. Manuel

Dias.

        Rather, Ms. Hannah is the registered agent for Defendant Omni Excavators, Inc. Ms.

Franklin’s business address is NOT the business address for Defendant Omni Excavators, Inc.

See, Summons [DKT 2]. And as noted on the face of the Summons, Ms. Franklin’s business

address is NOT the service address for Mr. Rafi or Mr. Dias. See, Summons [DKT 2].

Accordingly, Service on Ms. Franklin in lieu of Messrs. Rafi and Dias is not proper under the

Federal Rules.



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       B.      Despite Defendants’ counsel’s transmission of the proposed Consent Motion to
               Extend the Time for Defendants to Respond to the Complaint, the Plaintiff’s
               Counsel NEVER approved or for that matter even responded to Defendants’
               counsel.

       The undersigned counsel was retained by the Defendants on or about April 18, 2018.

As correctly indicated by Plaintiff, on or about April 18, 2018, the undersigned counsel reached

out to Plaintiff’s counsel to seek an extension to file a responsive pleading. See, Motion at ¶4

and Exhibit 2. Plaintiff’s counsel verbally consented. Defendants’ counsel agreed to transmit a

corresponding Consent Motion by which the parties would execute and transmit to the Court.

       On April 19, 2018, the undersigned counsel (via his law clerk) transmitted to Plaintiff’s

counsel a draft Consent Motion for Extension to Respond to Complaint (the “Consent Motion”).

A true and correct copy of the electronic correspondence from Ms. Gloria Paredes to Mr. Hyman

is attached hereto and incorporated by reference at Exhibit 1. Plaintiff’s counsel did NOT

respond to the correspondence.    Without confirmation the Consent Motion was acceptable,

Defendants’ counsel was ethically barred from filing the Consent Motion.

       Plaintiff counsel’s representation to the Court that he “approved a draft Consent Motion

that was provided to Plaintiff’s counsel by Mr. Robbins” is not correct. Indeed, attached at

Exhibit 2 is the subsequent email exchange between Plaintiff’s counsel and the undersigned

counsel, dated May 1, 2018, wherein Plaintiff’s counsel confirms that he “did not respond” to the

Consent Motion transmittal. A true and correct copy of the email correspondence, dated May 1,

2018, is attached hereto and incorporated by reference at Exhibit 2.

       Moreover, Plaintiff’s counsel’s representation that Mr. Hyman “notified Mr. Robbins of

his intent to file this Motion” is not correct. Motion at ¶9. As noted at Exhibit 2, Mr. Hyman

did not notify Mr. Robbins of his intent to file Motion. Rather, Mr. Hyman notified Mr.

Robbins after he filed the Motion. Specifically, Mr. Hyman confirms “I have filed the attached

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Motion...” [Emph. Added] See, Exhibit 2. Mr. Robbins promptly responded and advised Mr.

Hyman of his intent to file the Answer [DKT 5]. To which Mr. Hyman responded he was

confident the Court would grant the Motion and enter default. Id.        And alas, the Motion and

this Opposition are now before the Court.

IV.     NO PREJUDICE AND GOOD CAUSE

        The Defendants have retained counsel and are prepared to defend the lawsuit. The

Defendants have valid defenses in this action as demonstrated by the Answer and corresponding

Affirmative Defenses. See, Answer [DKT 5].

        Finally, there will be no prejudice to the Plaintiff if Defendants are allowed to late-file

their responsive pleadings. Granting the Motion for Default Judgment, on the other hand, will

not serve the interest of justice, will lead to judicial inefficiency, and ultimately will frustrate the

parties’ ability to substantively address the merits of the dispute. Discovery has not

commenced. And the Court’s Initial Scheduling Conference is set for June 21, 2018, at

10:15am. In short, at best, we are talking about a one (1) day delay from the date Plaintiff’s

counsel anticipated a response. Hardly the type of “interminable” delay litmus as set forth the

Gant matter. Gant, 268 F. Supp 2d 29.

V.      CONLCUSION

        For all of the above reasons, Defendants Omni Excavators, Inc., Abotorab Rafi, and

Manuel Dias request the Court deny the Motion for Entry of Default Judgment and either accept

the Answer filed by Defendants [DKT 5] or allow the Defendants to late-file responsive

pleading, and such other and further relieve as the Court deems proper.




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Dated: May 3, 2018                                 Respectfully submitted by

                                                   ROBBINS LAW GROUP, PLLC

                                                        /s/ Seth A. Robbins           _
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                                                   Counsel for Defendants


                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 3rd day of May 2018, a copy of the foregoing

Opposition to Motion for Entry of Default Judgment was electronically field with the Clerk of

the Court using the CM/ECF system, which will provide notice of such filing to all counsel of

record.

                                                        /s/ Seth A. Robbins          _
                                                   Seth A. Robbins




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